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IN THE UNITED STATES DISTRICT COURT S 3
FOR THE DISTRICT OF MARYLAND pe o &

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PERPETUA EZEH, . ‘ E22 &
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Plaintiff. 3 m2
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Vv.

Case No. RDB-14-2694
9109 LIBERTY ROAD OPERATIONS, LLC,

Defendant.
OE

ORDER OF JUDGMENT

The jury having returned a verdict in favor of the Defendant 9109 Liberty Road

Operations, LLC against the Plaintiff Perpetua Ezeh, it is this 1* day of October, 2018,
ORDERED,

1. Judgment is entered in favor of Defendant 9109 Liberty Road Operations, LLC,

with costs; and

2. Any and all prior rulings made by the Court disposing of any claims against any

parties are incorporated by reference herein, and this Order shall be deemed to be a final

judgment within the meaning of Fed. R. Civ. P. 58.

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Richard D. Bennett
United States District Judge

Order of Judgment (in favor of Defendant) (Rev. 12/2000)

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